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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Newport News Division

  HERBERT H. MULLINEX, JR.
  and PATRICIA E. MULLINEX

                         Plaintiffs,
  v.                                             CIVIL ACTION NO.: 4:18-cv-00033

  JOHN CRANE, INC.,

                         Defendant.

            PLAINTIFFS’ MOTION TO VACATE ORDER PURSUANT TO
   RULE 60(b) OR, ALTERNATIVELY, HOLD THAT JCI IS ESTOPPED OR WAIVED
  ASSERTING A GOVERNMENT CONTRACTOR DEFENSE AS TO CERTAIN ISSUES

         NOW COME PLAINTIFFS, by counsel, and move this Court to vacate its February 20,

  2019 Order (ECF 61) under Rule 60(b) and remand this case to the Circuit Court for the City of

  Newport News. Alternatively, Plaintiffs move this Court to hold that JCI is estopped from asserting

  the government contractor defense or has waived the government contractor defense as to any

  failure to warn on or in packaging, containers, technical manuals, drawings or specifications.

         In its removal papers (ECF 1) and in its Opposition to Plaintiffs’ Motion for Remand (ECF

  29), JCI repeatedly conceded that it was aware that Plaintiffs’ complaint claimed that JCI failed to

  warn on and in its products’ packaging and containers, in technical manuals, on drawings or in

  specifications. JCI argued that it was not aware that Plaintiffs were claiming that JCI failed to warn

  on the face of its gasket material until the Thursday before the state court trial was scheduled to

  begin. JCI further contended that its removal—which occurred 15 months after JCI was served

  with Plaintiffs’ original complaint—was timely because it was not until the eve of the state court

  trial that JCI understood that Plaintiffs were alleging a failure to warn on the face of JCI’s gasket

  material. And JCI contended that this “new” allegation gave rise to a colorable federal defense—




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  the government contractor defense. This Court relied on JCI’s representations in denying

  Plaintiffs’ Motion for Remand as to the timeliness of JCI’s removal.

         Now, JCI claims that it is also immune under the government contractor defense for failing

  to provide a warning on its products’ packaging and that this immunity is so clear as to warrant

  summary judgment. If this is true, then JCI necessarily admits that it was objectively ascertainable

  that this case was removable at the time JCI was first served with Plaintiffs’ complaint fifteen

  months before this case was ultimately removed. Accordingly, because this Court relied on JCI’s

  contrary statements at the time of removal in denying Plaintiffs’ Motion for Remand, this Court

  should vacate its February 20, 2019 Order (ECF 61) under Rule 60(b) and remand this case to the

  Circuit Court for the City of Newport News.

         In the event this Court decides not to vacate its order under Rule 60(b), this Court should

  find that JCI is estopped from pursuing the government contractor defense with regard to warnings

  anywhere other than the face of its gasket material, or hold JCI to its state court waiver on this

  issue because JCI (a) was clearly aware that the failure to warn allegations in Plaintiffs’ complaints

  alleged failure to warn on or inside JCI’s packaging or containers, in technical manuals, in

  drawings and in specifications, (b) did not oppose Plaintiffs’ motion to strike JCI’s government

  contractor defense in state court in the face of these clear allegations but, rather, knowingly waived

  any government contractor defense as to these allegations in the state court, and (c) told this Court

  that the reason its removal was timely was because these allegations did not put JCI on notice of a

  colorable federal defense.

         In support of this motion, Plaintiffs refer this Court to Plaintiffs’ Memorandum in Support

  of Plaintiffs’ Motion To Vacate Order Pursuant To Rule 60(B) Or, Alternatively, Hold That JCI




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  Is Estopped Or Waived Asserting A Government Contractor Defense As To Certain Issues, filed

  this day.

                                                       Respectfully Submitted,


                                                       By: /s/ William W.C. Harty
                                                       Counsel for Plaintiffs

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 10th day of January, 2020, I electronically filed Plaintiffs’
  Motion to Vacate Order Pursuant to Rule 60(B) or, Alternatively, Hold That JCI is Estopped or
  Waived Asserting a Government Contractor Defense as to Certain Issues, with the Clerk of
  Court using the CM/ECF system, which will then send a notification of such filing (NEF) to the
  following:

  Eric G. Reeves, Esq.                             Counsel for John Crane, Inc.
  Brian J. Schneider, Esq.
  Mary Louise Roberts
  Lisa Moran McMurdo
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                                                              Respectfully Submitted,

                                                              By: /s/ William W.C. Harty
                                                                      Counsel




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